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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

     Plaintiffs,                          Case No. 1:18-CV-00950-LO-JFA

v.

COX COMMUNICATIONS, INC., et al.,

        Defendants.




                      PLAINTIFFS’ PROPOSED VERDICT FORM
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     We the jury, in the above-captioned action, answer the questions submitted to us as follows:



 Question 1: Contributory Infringement

              Is Cox liable for contributory infringement of Plaintiffs’ copyrighted works?

              Answer:                Yes______                   No_______


 Please proceed to question 2




 Question 2: Vicarious Liability

              Is Cox vicariously liable for infringement of Plaintiffs’ copyrighted works?

              Answer:                Yes______                   No_______


 If you answered No to both questions 1 and 2, you should sign the form and return it to the clerk.

 If you answered Yes to either question 1 or 2 (or both), you should proceed to Questions 3, 4 and
 5.




 Question 3: Number of Works Infringed

              Plaintiffs have asserted infringement claims for 10,017 works. What is the number
              of works you find were infringed?

              _____________________ (up to 10,017)




 Question 4: Willfulness

              Was Cox’s conduct willful?

              Answer:                Yes______                   No_______
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 Question 5: Damages

  If Not Willful      You must award damages between $750 and $30,000 per work infringed

  If Willful          You must award damages between $750 and $150,000 per work infringed


               What amount of statutory damages per copyright infringed do you award to
               Plaintiffs?

               Amount: $ _____________________ per work


 Foreperson, please sign the verdict form.       ___________________________________



                      THANK YOU FOR YOUR TIME AND SERVICE.




 Dated: December 1, 2019        Respectfully submitted,

                                                    /s/ Scott A. Zebrak
                                                    Scott A. Zebrak (VSB No. 38729)
                                                    Matthew J. Oppenheim (pro hac vice)
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